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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
               Case Number:__________________-CV-_____________________


ANNA MARIE DEFEO,
       Plaintiff
V.
COMERICA BANK
       Defendant
________________________________/


                     COMPLAINT FOR PERMANENT INJUNCTION
         REQUIRING CHANGES TO CORPORATE POLICY AND THE ELIMINATION OF
             DIGITAL ACCESS BARRIERS PURSUANT TO 42 U.S.C. § 12188(a)(2)
       ANNA MARIE DEFEO (“Plaintiff DeFeo” or “Plaintiff”), seeks a permanent injunction

requiring a change in COMERICA BANK (“Defendant” or the “Company”) corporate polices to

cause Defendant’s website to become, and remain, accessible and in support thereof asserts as follows:

                                            INTRODUCTION

       1. Plaintiff brings this action against Defendant and asserts that its website is not accessible

to blind and visually impaired consumers in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. § 12101 et seq. (the “ADA”). Plaintiff seeks a permanent injunction to cause a change

in Defendant’s corporate policies related to its web-based technologies so that Defendant’s website

will become, and will remain, accessible. The website at issue is www.comerica.com (the “Website”).

        2.         While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods and services for people with perceptual or motor

disabilities, website developers and web content developers often implement digital technologies

without regard to whether those technologies can be accessed by individuals with disabilities. This is

notwithstanding the fact that accessible technology is both readily available and cost effective.

        3.         Blind and visually impaired consumers must use screen reading software or other assistive

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technologies in order to access website content. Defendant’s Website contains digital barriers which
limit the ability of blind and visually impaired consumers to access the site.

        4.      Plaintiff has patronized Defendant’s Website in the past, and intends to continue to

patronize Defendant’s Website. However, unless Defendant is required to eliminate the access

barriers at issue, and required to change its policies so that access barriers do not reoccur on

Defendant’s Website, Plaintiff will continue to be denied full access to the Website as described, and

will be deterred from fully using Defendant’s Website.

        5.      The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks in this
action. In relevant part, the ADA requires:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities....Where appropriate, injunctive relief shall also include requiring the
       . . . modification of a policy. . . 42 U.S.C. § 12188(a)(2).

        6.      Because Defendant’s Website has never been accessible and because Defendant does not

have, nor has ever had based upon information and belief, a corporate policy that is reasonably

calculated to cause its Website to become and remain accessible, Plaintiff invokes 42 U.S.C. §

12188(a)(2) and seeks a permanent injunction requiring:



       a)     that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually Agreed
       Upon Consultant”) who shall assist it in improving the accessibility of its Website so that it
       complies with version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0 AA”);

       b)       that Defendant work with the Mutually Agreed Upon Consultant to ensure that all
       employees involved in website development and content development be given web accessibility
       training on a periodic basis calculated to achieve ongoing compliance with WCAG 2.0 AA;

       c)     that Defendant work with the Mutually Agreed Upon Consultant to perform an
       automated accessibility audit on a periodic basis to evaluate whether Defendant’s Website continues
       to comply with WCAG 2.0 AA on an ongoing basis;

       d)      that Defendant work with the Mutually Agreed Upon Consultant to perform end-user
       accessibility/usability testing on a periodic basis with said testing to be performed by
       individuals with various disabilities to evaluate whether Defendant’s Website continues to

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         comply with WCAG 2.0 AA on an ongoing basis; and,

         e)       that Defendant work with the Mutually Agreed Upon Consultant to create an
         accessibility policy that will be posted on its Website, along with an e-mail address and toll
         free phone number to report accessibility-related problems because web-based technologies
         have features and content that are modified on a daily, and in some instances an hourly,
         basis, and a one time “fix” to an inaccessible website will not cause the website to remain
         accessible without a corresponding change in corporate policies related to those web-based
         technologies. To evaluate whether an inaccessible website has been rendered accessible, and
         whether corporate policies related to web- based technologies have been changed in a
         meaningful manner that will cause the website to remain accessible, the website must be
         reviewed on periodic basis using both automated accessibility screening tools and end user
         testing by disabled individuals.

                                        JURISDICTION AND VENUE

         7.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42 U.S.C. §

12188.

         8.      Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district.


         9.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is the
judicial district in which a substantial part of the acts and omissions giving rise to the claims
occurred.

                                                  PARTIES


         10.     Plaintiff DeFeo and, at all times relevant hereto, has been a resident of the State of

Florida. Plaintiff DeFeo is and, at all times relevant hereto, has been legally blind and is therefore a

member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq.


         11.     Defendant COMERICA BANK is a financial institution doing substantial business in this

judicial district. Defendant has physical loan and banking locations throughout the State of Florida and

specifically at 1037 FL-7, West Palm Beach, FL 33414 where Plaintiff would frequent to obtain a

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loan or bank account if not for the digital access barriers that impede her from frequenting the

physical location.


        12.     Defendant owns, operates and maintains loan and banking brick and mortar

establishments in the State of Florida. Defendant’s physical establishments offer goods and services

to the public. Defendant also offers goods and services to the public through its Website. Defendant’s

brick and mortar establishments and website are integrated and are public accommodations pursuant

to 42 U.S.C. § 12181(7).



                         FACTUAL BACKGROUND AND ALLEGATIONS

        13.     The Internet has become a significant source of information and a means for

conducting everyday activities such as shopping, banking, etc. for both sighted and blind and visually-

impaired persons, as well as individuals with other perceptual or motor disabilities.


        14.     Blind individuals may access websites by using keyboards in conjunction with screen

reader software that converts text to audio. Screen reader software provides the primary method by

which a blind person may independently use the Internet. Unless websites are designed to be

read by screen reader software, blind individuals are unable to fully access websites and the

information, products and services available through the sites. The international website standards

organization, W3C, has published WCAG 2.0 AA. WCAG 2.0 AA provides widely accepted

guidelines for making websites accessible to individuals with disabilities. These guidelines have

been endorsed by the United States Department of Justice and numerous federal courts.


        15.     Through its Website, Defendant offers the ability to analyze loan amount and rates

along with the option to call and discuss loan rates over the phone using a phone number gained from


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the website with a loan specialist. Defendant’s Website also help users locate stores and perform a

variety of other functions.


        16.       Plaintiff is permanently blind and uses screen reader software in order to access the

Internet and read website content.


        17.      There is a physical nexus between Defendant's web site and physical loan and banking

establishments in that the web site provides the contact information, access to products offered at the

physical establishment, option to call and speak with a banking specialist and address to the loan and

banking establishments.

        18.       Despite several attempts to use and navigate the Website, Plaintiff has been denied the

full use and enjoyment of the facilities, goods and services available on the Website as a result of access

barriers on the site.


        19.       The barriers at the Website have caused a denial of Plaintiff’s full and equal access

multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s website although

Plaintiff intends to use the website in the future once it becomes accessible.


        20.       The access barriers at the Website include but are not limited to, the following:

              a) Text equivalent for every non-text element is not provided;

              b) Information about the meaning and structure of the Website’s content is not conveyed by
              more than the visual presentation of content;

              c) When the sequence in which content is presented affects its meaning, a correct reading
              sequence cannot be programmatically determined;

              d) Web pages do not have titles that describe topic or purpose;

              e) Images on the website are not explained to the user with use of a screen reader
                 program; and,

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                f) There is no Accessibility Statement regarding a company policy to assist disabled users
                   found on the website.


          21.      If the Website were accessible, Plaintiff could independently shop for and research

products via Defendant’s website.

          22.      Upon information and belief, Defendant has never had a plan or policy that is

reasonably calculated to make its Website fully accessible to, and independently usable by blind

people.

          23.      Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that she will continue to suffer irreparable harm unless and until Defendant

is required to modify its website to correct the discriminatory conditions as set forth herein. The

relief requested serves the public interest and the benefit to Plaintiff and the public far outweigh

any detriment to Defendant.

          24.      Without injunctive relief, Plaintiff and other blind individuals will continue to be unable to

independently use the Website in violation of their rights under the ADA.

          25.     Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution

of this action, and has agreed to pay the undersigned counsel reasonable attorney’s fees, costs, and expenses

from Defendants pursuant to 42 U.S.C. § § 12205 and 12117, and Plaintiff is entitled to attorney’s fees,

costs, and expenses from Defendant.


                                        SUBSTANTIVE VIOLATION
                               (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

          26.      The allegations contained in the previous paragraphs are incorporated by reference.


          27.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

individual shall be discriminated against on the basis of disability in the full and equal enjoyment of the


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goods, services, facilities, privileges, advantages or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.” 42 U.S.C. § 12182(a).


       28.      Defendant’s loan and banking establishments and integrated website are public

accommodations within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

       29.      There is a physical nexus between Defendant's web site and physical loan and banking

establishments in that the web site provides the contact information and access to products found at the

physical establishment and address to the physical establishments.


        30.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).


        31.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages or accommodations, which is equal to the opportunities afforded to other

individuals. 42 U.S.C. §12182(b)(1)(A)(ii).


      32.       Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

among other things: “a failure to make reasonable modifications in policies, practices or procedures,

when such modifications are necessary to afford such goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities, unless the entity can demonstrate that making such

modifications would fundamentally alter the nature of such goods, services, facilities, privileges,

advantages or accommodations; and a failure to take such steps as may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise treated differently


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than other individuals because of the absence of auxiliary aids and services, unless the entity can

demonstrate that taking such steps would fundamentally alter the nature of the good, service, facility,

privilege, advantage or accommodation being offered or would result in an undue burden.” 42 U.S.C.

§ 12182(b)(2)(A)(ii)-(iii); see also 28 C.F.R. § 36.303(a).


      33.       Title III requires that “[a] public accommodation shall furnish appropriate auxiliary

aids and services where necessary to ensure effective communication with individuals with disabilities.”

28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of “auxiliary aids and services,”

including “...accessible electronic and information technology; or other effective methods of making

visually delivered materials available to individuals who are blind or have low vision.” 28 C.F.R. §

36.303(b).


      34.       The acts alleged herein constitute violations of Title III of the ADA, and the regulations

promulgated thereunder. Plaintiff, who is blind and has disabilities that substantially limit the major

life activity of seeing within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A), has been denied full

and equal access to Defendant’s Website because of her disability. She has not been provided services

that are provided to other patrons who are not disabled, and/or have been provided services that are

inferior to the services provided to non-disabled persons. Defendant has failed to take any prompt and

equitable steps to remedy its discriminatory conduct. These violations are ongoing.


      35.       Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth and

incorporated therein, Plaintiff requests relief as set forth below.


                                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:
        a.       A Declaratory Judgment that at the commencement of this action Defendant was in
                 violation of the specific requirements of Title III of the ADA described above, and the

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                relevant implementing regulations of the ADA, in that Defendant took no action that was
                reasonably calculated to ensure that its Websites are fully accessible to, and
                independently usable by, blind individuals;

        b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504
                (a) which directs Defendant to take all steps necessary to bring its Website into full
                compliance with the requirements set forth in the ADA, and its implementing
                regulations, so that its Website is fully accessible to, and independently usable by, blind
                individuals, and which further directs that the Court shall retain jurisdiction for a period
                to be determined to ensure that Defendant has adopted and is following an institutional
                policy that will in fact cause Defendant to remain fully in compliance with the law—the
                specific injunctive relief requested by Plaintiff is described more fully in Paragraph 6
                above;

        c.     Payment of c osts of suit;


        d.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §
               36.505; and,


        e.     The provision of whatever other relief the Court deems just, equitable and
               appropriate.



Dated: February 6, 2019                              Respectfully Submitted,


                                                     /s/ Alberto R. Leal.

                                                     Alberto R. Leal

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